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 4

 5
     Attorney for Defendant
     JORDAN WIRTZ
 6
                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                       )       No. CR-S-11-226 GEB
 9
                                                     )
                                                     )
10          Plaintiff,                               )       STIPULATION AND
                                                     )       [PROPOSED ORDER] CONTINUING
11
     v.                                              )       STATUS CONFERENCE
                                                     )
12
     PATRICIA ALBRIGHT, and                          )
                                                     )       Date: August 12, 2011
13   JORDAN WIRTZ,                                   )       Time: 9:00 a.m.
                                                     )       Judge: Honorable Garland E. Burrell, Jr.
14
            Defendants.                              )
                                                     )
15
                                                     )
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17
            IT IS HEREBY stipulated between the United States of America through its undersigned

18
     counsel, Michael M. Beckwith, Assistant United States Attorney, together with counsel for

19
     defendant Patricia Albright, Timothy Zindel, Esq., and counsel for defendant Jordan Wirtz, John

20
     R. Manning, Esq., that the status conference presently set for July 22, 2011 be continued to

21
     August 12, 2011, at 9:00 a.m., thus vacating the presently set status conference.

22
            Further, all of the parties, the United States of America and all of the defendants as stated

23
     above, hereby agree and stipulate that the ends of justice served by the granting of such a

24
     continuance outweigh the best interests of the public and the defendants in a speedy trial and that

25
     time under the Speedy Trial Act should therefore be excluded under Title 18, United States Code

26
     Section 3161(h)(7)(A) and (B)(ii) and (iv) and Local Code T-4 (to allow defense counsel time to

27
     prepare) from the date of the parties stipulation, July 19, 2011, to and including August 12, 2011.

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     The defense requests more time to review the discovery and conduct investigation.



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 1   IT IS SO STIPULATED.
 2
     Dated: July 19, 2011                             /s/ Timothy Zindel
 3                                                    TIMOTHY ZINDEL
                                                      Attorney for Defendant
 4                                                    Patricia Albright
 5
     Dated: July 19, 2011                              /s/ John R. Manning
 6                                                    JOHN R. MANNING
                                                      Attorney for Defendant
 7                                                    Jordan Wirtz
 8

 9   Dated: July 19, 2011                             Benjamin B. Wagner
                                                      United States Attorney
10

11
                                                by:   /s/ Michael M. Beckwith
                                                      MICHAEL M. BECKWITH
12                                                    Assistant U.S. Attorney
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               Case 2:11-cr-00226-TLN Document 39 Filed 07/20/11 Page 3 of 3



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 7
                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9

     UNITED STATES OF AMERICA,                      ) No. CR-S-11-226 GEB
10
                                                    )
                                                    )
11          Plaintiff,                              ) [PROPOSED] ORDER TO
                                                    ) CONTINUE STATUS CONFERENCE
12
     v.                                             )
                                                    )
13
     PATRICIA ALBRIGHT, and,                        )
                                                    )
14   JORDAN WIRTZ,                                  )
                                                    )
15
            Defendants.                             )
                                                    )
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                                                    )
17

18
            GOOD CAUSE APPEARING, it is hereby ordered that the July 22, 2011 status
19
     conference be continued to August 12, 2011 at 9:00 a.m. I find that the ends of justice warrant
20
     an exclusion of time and that the defendant’s need for continuity of counsel and reasonable time
21   for effective preparation exceeds the public interest in a trial within 70 days. THEREFORE IT
22   IS FURTHER ORDERED that time be excluded pursuant to 18 U.S.C. § 3161(h)(7)(A) and
23   (B)(ii) and (iv) and Local Code T4 (preparation by defense counsel).
24   IT IS SO ORDERED.

25

26   DATED: July 20, 2011

27                                           GARLAND E. BURRELL, JR.
28
                                             United States District Judge



                                                     3
